Case 1:22-cv-02877-JMC Document 1-5 Filed 09/21/22 Page 1 of 8




               Exhibit 1
          Case 1:22-cv-02877-JMC Document 1-5 Filed 09/21/22 Page 2 of 8




                             SENT VIA: EDFOIAManager@ed.gov
July 29, 2022

U.S. Department of Education
Office of the Secretary, Office of the Executive Secretariat
400 Maryland Avenue, SW, LBJ 7W106
Washington, DC 20202-0121

Dear FOIA Public Liaison

         Pursuant to the Freedom of Information Act, 5 U.S.C. § 552, and the implementing FOIA
regulations of the U.S. Department of Education, 34 CFR Part 5, I respectfully request the
following records (or records containing the following information) of staff members listed below
regarding:

1. All emails to or from individuals who’s email address ends in “law.harvard.edu”.
2. Records regarding any “Governing for Impact” documents or memorandums.
3. Internet Search history records of visits to the Governing for Impact website,
“https://governingforimpact.org/”.
4. Records of communications, calendar entries, calendar invites, and documents mentioning the
terms:
    • “Governing for Impact”
    • “GFI”
    • “National Student Legal Defense Network”
    • “Addressing Sexual Violence Under Title IX of the Education Amendments of 1972”
    • “The Role of State Laws to Police and Regulate Student Loan Servicing Companies”
    • “Improving the Public Loan Forgiveness Program”
    • “Protecting the Rights of LGBTQ+ Students Under Title IX of the Education Amendments
        of 1972”
    • “Automating the Discharge of Federal Student Loan Debt for Individuals Who are Totally
        and Permanently Disabled”
        - Guaranteeing an Educational Environment Free From Discrimination on the Basis of
        Sex, Including Sexual Orientation or Gender Identity”
    • “Executive Order 14021”
    • “EO 14021”
    • “Federal Preemption and Joint Federal-State Regulation and Oversight of the Department
        of Education's Federal Student Loan Programs and Federal Student Loan Servicers”
    • “ED-2021-OS-0107-0001”
    • “Docket ID ED–2021–OPE–0077”
    • “Enforcement of Title IX of the Education Amendments of 1972 With Respect to
           Case 1:22-cv-02877-JMC Document 1-5 Filed 09/21/22 Page 3 of 8




         Discrimination Based on Sexual Orientation and Gender Identity in Light of Bostock v.
         Clayton County”
   •     “86 FR 32637”
   •     “Over 323,000 Federal Student Loan Borrowers to Receive $5.8 Billion in Automatic
         Total and Permanent Disability Discharges”


Please limit your search to the staff members listed in the table below:

 Name                    Position                 Office                   Email
    John Bailey            Senior Counsel             Office of the           (john.bailey@ed.gov)
                                                    General Counsel
    Branden Cobb           Deputy Assistant             Office of            (branden.cobb@ed.gov)
                            Secretary for          Communications
                           Content Creation           and Outreach
   Valerie Williams           Director             Office of Special        (valerie.williams@ed.gov)
                                                  Education Programs
    Emma Leheny            Principal Deputy           Office of the          (emma.leheny@ed.gov)
                            General Counsel         General Counsel
  Suzanne Goldberg         Deputy Assistant         Office for Civil        (suzanne.goldberg@ed.gov)
                              Secretary for              Rights
                          Strategic Operations
                              and Outreach
    Katherine Neas        Assistant Secretary       Office of Special        (katherine.neas@ed.gov)
                                                     Education and
                                                     Rehabilitative
                                                        Services
       Shital Shah        Director of Strategic       Office of the           (shital.c.shah@ed.gov)
                               Initiatives           Secretary and
                                                    Deputy Secretary
       Julie Morgan        Senior Advisor to       Office of the Under        (julie.morgan@ed.gov)
                          the Under Secretary           Secretary
   Joaquín Tamayo         Chief of Staff to the       Office of the         (joaquin.r.tamayo@ed.gov)
                           Deputy Secretary          Secretary and
                                                    Deputy Secretary
    Staci Monreal            Senior Advisor           Office of the          (staci.monreal@ed.gov)
                                                     Secretary and
                                                    Deputy Secretary
       Toby Merrill         Deputy General            Office of the           (toby.merrill@ed.gov)
                               Counsel              General Counsel
       Case 1:22-cv-02877-JMC Document 1-5 Filed 09/21/22 Page 4 of 8




 Bonnie Latreille       Ombudsman             Office of Federal      (bonnie.latreille@ed.gov)
                                                 Student Aid
 Rachel Thomas        Acting Assistant            Office of           (rachel.thomas@ed.gov)
                         Secretary            Communications
                                                and Outreach
 Rachel Niebling      Deputy Assistant      Office of Legislation    (rachel.niebling@ed.gov)
                         Secretary           and Congressional
                                                   Affairs
    Sheila Nix          Chief of Staff          Office of the           (sheila.nix@ed.gov)
                                               Secretary and
                                             Deputy Secretary
  Supreet Anand       Assistant Deputy        Office of English       (supreet.anand@ed.gov)
                       Secretary and              Language
                          Director               Acquisition
Jessica Cardichon     Deputy Assistant       Office of Planning     (jessica.cardichon@ed.gov)
                         Secretary             Evaluation and
                                            Policy Development
Montserrat Garibay   Senior Advisor for         Office of the       (montserrat.garibay@ed.gov)
                      Labor Relations          Secretary and
                                             Deputy Secretary
 Michelle Cooper      Acting Assistant            Office of          (michelle.cooper@ed.gov)
                         Secretary             Postsecondary
                                                  Education
 Monique Dixon        Deputy Assistant        Office for Civil       (monique.dixon@ed.gov)
                     Secretary for Policy           Rights
   Ruth Ryder         Deputy Assistant      Office of Elementary        (ruth.ryder@ed.gov)
                     Secretary for Policy      and Secondary
                        and Programs              Education
 Benjamin Halle       Acting Assistant            Office of
                          Secretary           Communications
                                                and Outreach
 Gregory Schmidt       Senior Counsel           Office of the        (gregory.schmidt@ed.gov)
                                              General Counsel
    Nick Lee          Deputy Assistant       Office of Planning
                          Secretary
 Miriam Calderon      Deputy Assistant      Office of Elementary
                     Secretary for Policy      and Secondary
                     and Early Learning          Education
 Gregory Schmidt        Chief of Staff          Office of the        (gregory.schmidt@ed.gov)
                                              General Counsel
          Case 1:22-cv-02877-JMC Document 1-5 Filed 09/21/22 Page 5 of 8




    Joanna Darcus           Senior Counsel          Office of the           (joanna.darcus@ed.gov)
                                                   General Counsel
  William Desmond           Senior Counsel          Office of the         (william.desmond@ed.gov)
                                                   General Counsel
     Jessa Mirtle           Senior Counsel          Office of the            (jessa.mirtle@ed.gov)
                                                   General Counsel
    Gypsy Moore             Senior Counsel          Office of the            (gypsy.moore@ed.gov)
                                                   General Counsel
     Juliana Rinz           Chief of Staff        Office of Planning          (juliana.rinz@ed.gov)
    Rachel Hegarty           Confidential         Office of Planning        (rachel.hegarty@ed.gov)
                              Assistant
    Tariq Habash           Special Assistant      Office of Planning          (tariq.habash@ed.gov)
  Loredana Valtierra       Special Assistant      Office of Planning      (loredana.valtierra2@ed.gov)
      Catherine            Special Assistant      Office of Planning     (catherine.mcconnell@ed.gov)
     McConnell
    Kayla Patrick          Special Assistant      Office of Planning        (kayla.patrick@ed.gov)
    Donna Harris-           Senior Policy           Office of the        (donna.harris-aikens@ed.gov)
       Aikens                  Advisor              Secretary and
                                                  Deputy Secretary
      Sara Garcia          Special Assistant      Office of Planning


Please limit the search for this request from January 20, 2021, to July 29, 2022.

The term “record” means any written, recorded, or graphic matter of any nature whatsoever,
regardless of how recorded, and whether original or copy, including, but not limited to, the
following: memoranda, reports, expense reports, books, manuals, instructions, financial reports,
working papers, records, notes, letters, notices, confirmations, telegrams, receipts, appraisals,
pamphlets, magazines, newspapers, prospectuses, inter-office and intra-office communications,
electronic mail (emails), MMS or SMS text messages, instant messages, messaging systems (such
as iMessage, Microsoft Teams, WhatsApp, Telegram, Signal, Google Chat, Twitter direct
messages, Lync, Slack, and Facebook Messenger), contracts, cables, telexes, notations of any type
of conversation, telephone call, voicemail, meeting or other communication, bulletins, printed
matter, computer printouts, teletypes, invoices, transcripts, diaries, analyses, returns, summaries,
minutes, bills, accounts, estimates, projections, comparisons, messages, correspondence, press
releases, circulars, financial statements, reviews, opinions, offers, studies and investigations,
questionnaires and surveys, and work sheets (and all drafts, preliminary versions, alterations,
modifications, revisions, changes, and amendments of any of the foregoing, as well as any
attachments or appendices thereto), and graphic or oral records or representations of any kind
(including without limitation, photographs, charts, graphs, microfiche, microfilm, videotape,
          Case 1:22-cv-02877-JMC Document 1-5 Filed 09/21/22 Page 6 of 8




recordings and motion pictures), and electronic, mechanical, and electronic records or
representations of any kind (including, without limitation, tapes, cassettes, disks, and recordings)
and other written, printed, typed, or other graphic or recorded matter of any kind or nature,
however produced or reproduced, and whether preserved in writing, film, tape, disk, videotape or
otherwise. A record bearing any notation not a part of the original text is to be considered a
separate record. A draft or non-identical copy is a separate record within the meaning of this term.

The term “communication” means each manner or means of disclosure or exchange of information
(in the form of facts, ideas, inquiries, or otherwise), regardless of means utilized, whether oral,
electronic, by document or otherwise, and whether in an in-person meeting, by telephone,
facsimile, e-mail (desktop or mobile device), MMS or SMS text message, instant messages,
messaging systems (such as iMessage, Microsoft Teams, WhatsApp, Telegram, Signal, Google
Chat, Twitter direct messages, Lync, Slack, and Facebook Messenger), regular mail, telexes,
releases, or otherwise.

For calendar entries created in Outlook, Teams, Zoom, WebEx or similar programs, the
documents should be produced in “memo” form to include all invitees, any notes, and all
attachments. All calendar and calendar entries include any calendars maintained on behalf of
these individuals (e.g., by an administrative assistant). Please do not limit your search to Outlook
calendars—we request the production of any calendar—paper or electronic, whether on
government-issued or personal devices—used to track or coordinate how these individuals allocate
their time on agency business. We request that you include calendars and invitations created in
Outlook, Teams, Zoom, WebEx, or similar programs.

This request for records includes any attachments to those records or other materials enclosed with
those records when they were previously transmitted. To the extent that an email is responsive to
our request, our request includes all prior messages sent or received in that email chain, as well as
any attachments to the email.

In the interest of expediency and to minimize the research and/or duplication burden on your staff,
please send records electronically if possible. If this is not possible, please notify me before
sending to the mailing address listed below. If access to this request will take longer than 20
business days, please let me know when I might receive records or be able to inspect the requested
records. Please produce responsive documents as soon as they become available.
In all cases, please communicate with me at the below email address.

Please comply fully with 5 U.S.C. § 552 (b). Accordingly, without limitation to the foregoing, if
any portion of this request is denied for any reason, please provide written notice of the records or
portions of records that are being withheld and cite each specific exemption of the Freedom of
Information Act on which the agency relies. Moreover, to the extent the agency believes that
responsive records may be withheld in part produce all reasonably segregable portions of those
            Case 1:22-cv-02877-JMC Document 1-5 Filed 09/21/22 Page 7 of 8




records.

Additionally, please provide all responsive documents even if they are redacted in full.

Fee Waiver Request
This request is primarily and fundamentally for non-commercial purposes. As a 501(c)(3)
nonprofit, Heritage Foundation does not have a commercial purpose and the release of the
information requested is not in Heritage Foundation’s commercial interest. Heritage Foundation’s
mission is to is to formulate and promote public policies based on the principles of free enterprise,
limited government, individual freedom, traditional American values, and a strong national
defense. Heritage Foundation uses the information requested and analyzes it in order to educate
the public through social media, 1 broadcast media 2 (traditional and nontraditional) and press
releases. 3 The requested information is in the public interest because how prominent Governing
for Impact has been in implementing federal agenda items. 4

Because this is a request by a member of the news media for information of public interest, made in
my capacity as an author for the Daily Signal 5 (a major news outlet 6), I request that you waive all
applicable fees associated with this request. As an author for the Daily Signal, I intend to use this
FOIA request and other investigatory means to gathers information of potential public interest
regarding the records requested and use my editorial skills to turn the raw materials into a distinct
work, and distributes that work to my Daily Signal audience.

If you deny this request for a fee waiver, please advise me in advance of the estimated charges if
they are to exceed $50. Please send me a detailed and itemized explanation of those charges.




1
  Heritage Foundation. [@ Heritage] (Accessed: 2022, February 18). 626.8K Followers Twitter.
https://twitter.com/Heritage
2
  Fox News. (Accessed: 2022, February 18). Heritage Foundation launches Conservative Oversight Project aimed at
'exposing' Biden admin, leftist policies. https://www.foxnews.com/politics/heritage-conservative-oversight-project-
biden-admin-leftist-policies
3
  Heritage Foundation. (Accessed: 2022, February 18). Press. https://www.heritage.org/press .
4
  Fox News. (Accessed: 2022, July 29). Secretive Soros-funded group works behind the scenes with Biden admin on
policy, documents show https://www.foxnews.com/politics/secretive-soros-funded-group-works-behind-scenes-biden-
admin-policy-documents
5
  Daily Signal. (Accessed: 2022, February 18). Mike Howell. https://www.dailysignal.com/author/mike-howell/
6
  Daily Signal. [@DailySignal] (Accessed: 2022, February 18). 73.7K Followers Twitter.
https://twitter.com/DailySignal
          Case 1:22-cv-02877-JMC Document 1-5 Filed 09/21/22 Page 8 of 8




Thank you in advance for considering my request. If you have any questions, or feel you need
clarification of this request please contact me at oversightproject@heritage.org.

                                                  Sincerely,

                                                  Mike Howell
                                                  Senior Advisor and Author at The Daily Signal
                                                  The Heritage Foundation
                                                  214 Massachusetts Ave, NE
                                                  Washington, D.C. 20002
